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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE



In re:                                                      Chapter 11

BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                            (Jointly Administered)
         Debtors. 1



 SUPPLEMENTAL DECLARATION OF THE HONORABLE BARBARA J. HOUSER
 (RET.), IN HER CAPACITY AS TRUSTEE OF THE BSA SETTLEMENT TRUST, IN
SUPPORT OF HER CONSOLIDATED RESPONSES IN OPPOSITION TO MOTIONS
                TO ALLOW [D.I. 11565, 11600, 11602, 11608, 11612]

         I, Barbara J. Houser, declare as follows:

         1.      I am the trustee (the “Trustee”) of the BSA Settlement Trust (the “Settlement

Trust” or the “Trust”).

         2.      On October 27, 2023, I submitted the Declaration of the Honorable Barbara J.

Houser (Ret.), in Her Capacity as Trustee of the BSA Settlement Trust, In Support of Her

Consolidated Response in Opposition to (1) Survivors Claimant D.S.’s Motion to Change

Election to Opt Into Expedited Payment/Convenience Class, D.I. 11532, and (2) Motion to

Change Election to Opt Into Expedited Payment/Convenience Class, D.I. 11552, D.I. 11565-1

(the “October 27 Declaration”).

         3.      I submit this declaration to supplement the information provided in paragraph 5 of

the October 27 Declaration.




1
  The Reorganized Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Reorganized Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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